
ON PETITION FOR REHEARING AND STAY OF MANDATE
PER CURIAM.
We adhere to our opinion of reversal and remand pursuant to Tascano v. State, 363 *992So.2d 405, reversed, 393 So.2d 540 (Fla. 1980), reh. denied, February 27, 1981; but, in accord with this court’s opinions in Studstill v. State, 397 So.2d 753 (Fla.1st DCA 1981), and Thompson v. State, 405 So.2d 990 (Fla.1st DCA 1981), we certify to the Supreme Court the following question:
Can an appellate court apply the harmless error doctrine, Section 924.33 and Section 59.041, Florida Statutes (1979), to the failure of a trial court to give the jury instruction required by Rule 3.390(a), Florida Rules of Criminal Procedure, if the appellant’s guilt is clearly established and the appellate court determines the error could not have affected the verdict?
ERVIN, BOOTH and JOANOS, JJ., concur.
